AO 245D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation




                                                UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
     UNITED STATES OF AMERICA                                           )   JUDGMENT IN A CRIMINAL CASE
                                                                        )   (For Revocation of Probation or Supervised Release)
                 V.                                                     )   (For Offenses Committed On or After November 1, 1987)

                                                                        )
     FOREST SHANE LYNN                                                  )   Case Number: DNCW213CR000009-009
                                                                        )   USM Number: 28300-058
                                                                        )
                                                                        )   Charles W. McKeller
                                                                        )   Defendant’s Attorney

THE DEFENDANT:
 ☒ Admitted guilt to violation of conditions 1-6 of the term of supervision.
 ☐ Was found in violation of condition(s) count(s) after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations:
  Violation                                                                                                   Date Violation
  Number           Nature of Violation                                                                         Concluded
       1           DRUG/ALCOHOL USE                                                                             12/15/2016
       2           NEW LAW VIOLATION - HIT AND RUN/LEAVING THE SCENE OF AN ACCIDENT;                            12/23/2016
                   FAILURE TO MAINTAIN LANE CONTROL
       3           OTHER – VIOLATION OF CURFEW                                                                  12/30/2016
       4           FAILURE TO COMPLY WITH DRUG TESTING / TREATMENT REQUIREMENTS                                  2/08/2017
       5           OTHER - THE DEFENDANT HAS VIOLATED THE CONDITION OF SUPERVISION                               2/02/2017
                   THAT STATES, “THE DEFENDANT SHALL PERMIT A PROBATION OFFICER TO
                   VISIT HIM OR HER AT ANY TIME AT HOME OR ELSEWHERE AND SHALL PERMIT
                   CONFISCATION OF ANY CONTRABAND OBSERVED BY THE PROBATION
                   OFFICER,” IN THAT, ON 2/1/17 USPO ADVISED HIM TO BE AT HIS RESIDENCE
                   ON THE MORNING OF 2/2/17. USPO MADE MULTIPLE ATTEMPTS TO CONTACT
                   THE DEFENDANT AT HIS RESIDENCE DURING THE MORNING HOURS OF 2/2/17,
                   WITHOUT AVAIL
       6           OTHER - ASSOCIATING WITH A PERSON ACTIVELY INVOLVED IN CRIMINAL                              2/03/2017
                   ACTIVITY

       The Defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).
 ☐       The Defendant has not violated condition(s) and is discharged as such to such violation(s) condition.
 ☒       Violation 7 is dismissed on the motion of the United States.
        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.

                                                                                 Date of Imposition of Sentence: 4/20/2017
                                                                                  Signed: May 4, 2017




                                                                                 Date: May 4, 2017
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                                                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
TWELVE (12) MONTHS. THE TERM OF IMPRISONMENT IMPOSED BY THIS JUDGMENT SHALL BE SERVED
CONSECUTIVELY TO ANY TERM OF IMPRISONMENT PREVIOUSLY OR HEREAFTER IMPOSED BY THIS OR ANY
OTHER STATE OR FEDERAL COURT.

☒ The Court makes the following recommendations to the Bureau of Prisons:
         1.     Placed at a location with adequate facilities to treat defendant’s prior diagnosis of Hepatitis C,
                considering his security classification.
         2.     Participation in any available educational and vocational opportunities.
         3.     Participation in the Federal Inmate Financial Responsibility Program.
         4.     Participation in any available substance abuse treatment program and if eligible receive benefits of
                18:3621(e)(2).
         5.     Defendant shall support all dependents from prison earnings.

☒ The Defendant is remanded to the custody of the United States Marshal.

☐ The Defendant shall surrender to the United States Marshal for this District:

            ☐ As notified by the United States Marshal.
            ☐ At on .

☐ The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☐ As notified by the United States Marshal.
            ☐ Before 2 p.m. on .
            ☐ As notified by the Probation Office.


                                                                          RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                         United States Marshal
                                                                                    By:
                                                                                          Deputy Marshal
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                                                            CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments.


                   ASSESSMENT                                              FINE                         RESTITUTION
                      $0.00                                                $0.00                           $0.00


☐ The determination of restitution is deferred until. An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination.

☒ In all other respects, the terms of the original judgment [Doc. 334] in this matter remain in full force and effect.


                                                                           FINE

         The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
on the Schedule of Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

☐ The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

☐ The interest requirement is waived.

☐ The interest requirement is modified as follows:


                                                          COURT APPOINTED COUNSEL FEES

☐ The defendant shall pay court appointed counsel fees.

☐ The defendant shall pay $0.00 towards court appointed fees.




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                                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

            A ☐ Lump sum payment of $0.00 due immediately, balance due
                  ☐ Not later than
                  ☐ In accordance ☐ (C), ☐ (D) below; or
            B ☒ Payment to begin immediately (may be combined with ☐ (C), ☐ (D) below); or

            C ☐ Payment in equal Monthly (E.g. weekly, monthly, quarterly) installments of $50.00 to commence
                60 (E.g. 30 or 60) days after the date of this judgment; or

            D ☐ Payment in equal Monthly (E.g. weekly, monthly, quarterly) installments of $ 50.00 to commence
                60 (E.g. 30 or 60) days after release from imprisonment to a term of supervision. In the event the entire
                amount of criminal monetary penalties imposed is not paid prior to the commencement of supervision, the
                U.S. Probation Officer shall pursue collection of the amount due, and may request the court to establish or
                modify a payment schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the payment of criminal monetary penalties:

☐ The defendant shall pay the cost of prosecution.
☐ The defendant shall pay the following court costs:
☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal
monetary penalty payments are to be made to the United States District Court Clerk, 401 West Trade Street, Room 210,
Charlotte, NC 28202, except those payments made through the Bureau of Prisons’ Inmate Financial Responsibility
Program. All criminal monetary penalty payments are to be made as directed by the court.



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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